                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:13-00056
                                                       )       JUDGE CAMPBELL
RICARDO RONODEAN MITCHELL, II                          )

                                               ORDER

         Pending before the Court is the Government’s Motion to Reset Sentencing Hearing (Docket

No. 93) for Defendant Ricardo Ronodean Mitchell, II. Counsel for Defendant Mitchell has filed a

Response (Docket No. 95) indicating he has no objection to a continuance. The Motion is

GRANTED.

         The sentencing hearing in this case scheduled for January 30, 2014, is RESCHEDULED for

March 31, 2014, at 10:00 a.m.

         All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least five (5) days before the sentencing hearing.

         In accordance with LCrR 32.01(c), at least seven (7) days prior to the sentencing date, the

parties shall file a “Position of the (Government or Defendant) with Respect to Sentencing Factors,”

containing only unresolved objections to the Presentence Report. If the parties have no objections

to the Presentence Report, they shall so indicate in their “Position” filed with the Court. The parties

shall also serve a copy of their “Position” on the Probation Office upon its filing.

         It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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